

People v Jaffar (2021 NY Slip Op 05468)





People v Jaffar


2021 NY Slip Op 05468


Decided on October 12, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 12, 2021

Before: Renwick, J.P., Kern, Oing, Mendez, Rodriguez, JJ. 


Ind No. 1788/17 Appeal No. 14335 Case No. 2018-4531 

[*1]The People of the State of New York, Respondent,
vMohammed Jaffar, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Harold V. Ferguson, Jr. of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Rachel Bond of counsel), for respondent.



Judgment, Supreme Court, New York County (Laura A. Ward, J.), rendered May 16, 2018, convicting defendant, upon his plea of guilty, of attempted burglary in the second degree, and sentencing him to a term of six months, with five years' probation, unanimously modified, on the law, to the extent of directing that the term of imprisonment and the period of probation run concurrently, and otherwise affirmed.
As the People concede, the sentence should be modified to specify that the term of imprisonment and the probationary period are concurrent, so that defendant is
entitled to jail time credit toward both components of the sentence (see People v Zephrin, 14 NY3d 296 [2010]), resulting in a probationary period that is effectively 4½ years. We decline to grant any other relief regarding defendant's plea and sentence. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 12, 2021








